       Case 23-13359-VFP              Doc 3341 Filed 07/03/24                   Entered 07/04/24 00:19:12                 Desc
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Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−13359−VFP
                                         Chapter: 11
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

        Please be advised that on July 1, 2024, the court entered the following judgment or order on the court's docket
in the above−captioned case:
Document Number: 3339 − 3329
Order Granting Application To Allow Attorney Angeline J. Hwang to Appear Pro Hac Vice (Related Doc # 3329).
Service of notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See BNC
Certificate of Notice. This order has been mailed to the Treasurer of the New Jersey Lawyer's Fund for Client
Protection via US mail. Signed on 7/1/2024. (mcp)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: July 1, 2024
JAN: mcp

                                                                 Jeanne Naughton
                                                                 Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-13359-VFP
Bed Bath & Beyond Inc.                                                                                                 Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 29
Date Rcvd: Jul 01, 2024                                               Form ID: orderntc                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 03, 2024:
Recip ID                 Recipient Name and Address
aty                    + Angeline J. Hwang, SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP, One Manhattan West, New York, NY 10001-0193

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 03, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 1, 2024 at the address(es) listed below:
Name                               Email Address
A. Jeff Ifrah
                                   on behalf of Interested Party Federal Insurance Company jeff@ifrahlaw.com

A.J. Webb
                                   on behalf of Creditor Select Consolidated Management LLC awebb@fbtlaw.com, awebb@ecf.courtdrive.com

Aaron Applebaum
                                   on behalf of Creditor CR Mount Pleasant LLC aaron.applebaum@us.dlapiper.com, aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
                                   on behalf of Interested Party Continental Realty Corporation aaron.applebaum@us.dlapiper.com
                                   aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
                                   on behalf of Interested Party WM Sunset & Vine LLC aaron.applebaum@us.dlapiper.com
                                   aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
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                             on behalf of Creditor Ridgeport Limited Partnership aaron.applebaum@us.dlapiper.com
                             aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
                             on behalf of Creditor CR West Ashley LLC aaron.applebaum@us.dlapiper.com, aaron--applebaum--3547@ecf.pacerpro.com

Aaron R. Cahn
                             on behalf of Creditor The Bank of New York Mellon cahn@clm.com CourtMail@clm.com

Alan J. Brody
                             on behalf of Creditor JPMorgan Chase Bank N.A. brodya@gtlaw.com alan-brody-2138@ecf.pacerpro.com

Alan J. Brody
                             on behalf of Creditor Alexander's Rego Shopping Center Inc. brodya@gtlaw.com, alan-brody-2138@ecf.pacerpro.com

Alan Stuart Maza
                             on behalf of Interested Party Securites and Exchange Commission mazaa@sec.gov mazaa@sec.gov

Albert Anthony Ciardi, III
                             on behalf of Creditor Rainier Colony Place Acquisitions LLC aciardi@ciardilaw.com,
                             sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Albert Anthony Ciardi, III
                             on behalf of Creditor The Anna Mscisz Trust aciardi@ciardilaw.com sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Albert Anthony Ciardi, III
                             on behalf of Interested Party Anna Mscisz Trust aciardi@ciardilaw.com sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Alexander F. Barth
                             on behalf of Creditor The Chen Liu and Shu Fen Lie Revocable Trust abarth@cohenseglias.com

Alexandria Nikolinos
                             on behalf of U.S. Trustee U.S. Trustee alexandria.nikolinos@usdoj.gov

Allen J Barkin
                             on behalf of Creditor LOGIXAL INC. abarkin@sbmesq.com sandyr@sbmesq.com

Allen Joseph Underwood, II
                             on behalf of Creditor 12535 SE 82nd AVE LLC aunderwood@litedepalma.com
                             ajunderwood@ecf.courtdrive.com;grodriguez@litedepalma.com

Amish R. Doshi
                             on behalf of Creditor Oracle America Inc. amish@doshilegal.com

Amy Elizabeth Vulpio
                             on behalf of Creditor Salesforce.com inc. vulpioa@whiteandwilliams.com

Amy Elizabeth Vulpio
                             on behalf of Creditor Google LLC vulpioa@whiteandwilliams.com

Andrew Braunstein
                             on behalf of Creditor Commission Junction LLC andrew.braunstein@lockelord.com

Andrew B. Still
                             on behalf of Defendant Baby Trend Inc. astill@swlaw.com, kcollins@swlaw.com

Andy Winchell
                             on behalf of Creditor River Park Properties II LP andy@winchlaw.com,
                             awinchellecf@gmail.com;katharine@winchlaw.com;winchellar94173@notify.bestcase.com

Andy Winchell
                             on behalf of Creditor Dong Koo Kim and Jong Ok Kim Trustees of the Dong Koo Kim and Jong Ok Kim Family Trust, dated
                             October 18, 1996 andy@winchlaw.com,
                             awinchellecf@gmail.com;katharine@winchlaw.com;winchellar94173@notify.bestcase.com

Angela L Mastrangelo
                             on behalf of Interested Party Valley Square I L.P. mastrangelo@bk-legal.com, bhoffmann@bk-legal.com

Angela L Mastrangelo
                             on behalf of Interested Party CTC Phase II LLC mastrangelo@bk-legal.com, bhoffmann@bk-legal.com

Angela L Mastrangelo
                             on behalf of Interested Party Christiana Town Center LLC mastrangelo@bk-legal.com, bhoffmann@bk-legal.com

Anthony Sodono, III
                             on behalf of Creditor Salmar Properties LLC asodono@msbnj.com

Arthur Abramowitz
                             on behalf of Other Prof. Golf & Tennis Pro Shops Inc. (d/b/a/ PGA TOUR Superstore) aabramowitz@shermansilverstein.com,
                             jbaugh@shermansilverstein.com

Barbra Rachel Parlin
                             on behalf of Creditor ALTO Northpoint LP barbra.parlin@hklaw.com,
           Case 23-13359-VFP          Doc 3341 Filed 07/03/24                        Entered 07/04/24 00:19:12                  Desc
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                          elvin.ramos@hklaw.com;glenn.huzinec@hklaw.com,HAPI@HKLAW.COM;hapi@hklaw.com;jjalemany@hklaw.com

Barry Scott Miller
                          on behalf of Creditor English Tea Shop USA Corp. bmiller@barrysmilleresq.com miller.barryb119091@notify.bestcase.com

Beth E Levine
                          on behalf of Creditor Committee Official Committee Of Unsecured Creditors blevine@pszjlaw.com

Bradford J. Sandler
                          on behalf of Other Prof. Plan Administrator bsandler@pszjlaw.com
                          mseidl@pszjlaw.com;lpetras@pszjlaw.com;abates@pszjlaw.com

Bradford J. Sandler
                          on behalf of Creditor Committee Official Committee Of Unsecured Creditors bsandler@pszjlaw.com
                          mseidl@pszjlaw.com;lpetras@pszjlaw.com;abates@pszjlaw.com

Bradford J. Sandler
                          on behalf of Other Prof. Michael Goldberg bsandler@pszjlaw.com
                          mseidl@pszjlaw.com;lpetras@pszjlaw.com;abates@pszjlaw.com

Brendan Scott
                          on behalf of Creditor Dream on Me Industries Inc. bscott@klestadt.com

Brett D. Goodman
                          on behalf of Creditor KIR Brandon 011 LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor PL Dulles LLC brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Airport Plaza LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor C T Center S.C. LP brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor KSI Cary 483 LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor WRI/Raleigh L.P. brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor KIR Pasadena II L.P. brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Mooresville Crossing LP brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Price/Baybrook Ltd. brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Franklin Park S.C. LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Kimco Realty OP LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor WRI-URS South Hill LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Weingarten Nostat LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor KIR Tukwila L.P. brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor KIR Bridgewater 573 LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com
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Brett D. Goodman
                          on behalf of Creditor CFH Realty III/Sunset Valley L.P. brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Talisman Towson Limited Partnership brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor WRI Mueller LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Flagler S.C. LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor KIR MONTGOMERY 049 LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor KIR Soncy L.P. brett.goodman@afslaw.com
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Kimco Riverview LLC brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Redfield Promenade LP brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Conroe Marketplace S.C. L.P. brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett D. Goodman
                          on behalf of Creditor Chico Crossroads L.P. brett.goodman@afslaw.com,
                          jeffrey.gleit@afslaw.com;matthew.bentley@afslaw.com;edocket@afslaw.com

Brett S. Moore
                          on behalf of Creditor Englewood Construction Inc. bsmoore@pbnlaw.com,
                          pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

Brian Morgan
                          on behalf of Creditor Prologis brian.morgan@faegredrinker.com cathy.greer@faegredrinker.com

Brian Morgan
                          on behalf of Creditor Prologis USLF NV II LLC brian.morgan@faegredrinker.com, cathy.greer@faegredrinker.com

Brian Morgan
                          on behalf of Creditor PRW Urban Renewal 1 LLC brian.morgan@faegredrinker.com, cathy.greer@faegredrinker.com

Brian Morgan
                          on behalf of Creditor UG2 Solon OH LP brian.morgan@faegredrinker.com, cathy.greer@faegredrinker.com

Brian I. Kantar
                          on behalf of Creditor Arch Insurance Company bkantar@csglaw.com

Brigette G McGrath
                          on behalf of Other Prof. Michael Goldberg bmcgrath@askllp.com

Brigette G McGrath
                          on behalf of Plaintiff Michael Goldberg bmcgrath@askllp.com

Brigid K Ndege
                          on behalf of Creditor Ben Rosenzweig brigid.ndege@bclplaw.com

Brittany B Falabella
                          on behalf of Creditor The Brink's Company bfalabella@hirschlerlaw.com rhenderson@hirschlerlaw.com

Candice Marie Carson
                          on behalf of Creditor Pittsburgh Hilton Head Associates L.P. candice.carson@butlersnow.com

Carol L. Knowlton
                          on behalf of Creditor TFP Limited cknowlton@gorskiknowlton.com

Catherine E Youngman
                          on behalf of Creditor Keurig Green Mountain Inc. cyoungman@foxrothschild.com, cbrown@foxrothschild.com

Catherine E. Youngman
                          on behalf of Creditor Keurig Green Mountain Inc. cyoungman@foxrothschild.com, cbrown@foxrothschild.com
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Christopher Perez
                          on behalf of Unknown Role Type Luse Akdemir cp@hannaperez.com

Christopher D Loizides
                          on behalf of Interested Party NORTHWOODS III (SAN ANTONIO) LLC loizides@loizides.com, lisa.peters@kutakrock.com

Christopher P. Anton
                          on behalf of Defendant Caliber Americas LLC canton@gibbonslaw.com jdaniels@buddlarner.com

Clayton Daniel Harvey
                          on behalf of Creditor Federal Heath Sign Company LLC clayton.harvey@faegredrinker.com

Colin R. Robinson
                          on behalf of Plaintiff Michael Goldberg crobinson@pszjlaw.com

Colin R. Robinson
                          on behalf of Other Prof. Plan Administrator crobinson@pszjlaw.com

Colin R. Robinson
                          on behalf of Creditor Committee Official Committee Of Unsecured Creditors crobinson@pszjlaw.com

Conrad K. Chiu
                          on behalf of Transferee Evolution Credit Opportunity Master Fund II-B L.P. cchiu@pryorcashman.com

Courtney Brown
                          on behalf of Creditor CMR Limited Partnership cmbrown@vedderprice.com
                          ecfnydocket@vedderprice.com,courtney-brown-3667@ecf.pacerpro.com

Courtney A. Schael
                          on behalf of Creditor ShopperTrak RCT LLC cschael@ashfordnjlaw.com mrogers@ashfordnjlaw.com

Courtney G. Schroeder
                          on behalf of Creditor Carla Cox Smith cschroeder@ghclaw.com

Dana Lee Robbins
                          on behalf of Creditor DS Properties 18 LP drobbins@burr.com mguerra@burr.com

Dana Lee Robbins
                          on behalf of Creditor SF WH Property Owner LLC drobbins@burr.com mguerra@burr.com

Dana S. Plon
                          on behalf of Creditor Simsbury Commons LLC dplon@sirlinlaw.com

Dana S. Plon
                          on behalf of Creditor ML-MJW Port Chester SC Owner LLC dplon@sirlinlaw.com

Dana S. Plon
                          on behalf of Creditor Middletown Shopping Center I L.P. dplon@sirlinlaw.com

Dana S. Plon
                          on behalf of Creditor Riverhead Centre Owners LLC dplon@sirlinlaw.com

Daniel Brogan
                          on behalf of Creditor MSC Mediterranean Shipping Company SA dbrogan@beneschlaw.com
                          docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Daniel Stolz
                          on behalf of Interested Party Ad Hoc Committee of Bondholders dstolz@genovaburns.com
                          dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel Stolz
                          on behalf of Creditor Unsecured Noteholders Group dstolz@genovaburns.com
                          dstolz@ecf.inforuptcy.com;msousa@genovaburns.com

Daniel M Pereira
                          on behalf of Creditor ChannelAdvisor Corp. dpereira@stradley.com

Daniel M Pereira
                          on behalf of Creditor Commerce Technologies LLC dpereira@stradley.com

Daniel N. Zinman
                          on behalf of Creditor W.B.P. Central Associates LLC dzinman@kandfllp.com,
                          skossar@kandfllp.com;cvalenzuela@kandfllp.com;foreclosure@kandfllp.com

Daniel R. Utain
                          on behalf of Creditor Newtown/Bucks Associates L.P. dutain@kaplaw.com, llapenna@kaplaw.com

David Edelberg
                          on behalf of Attorney DC USA Operating Co. LLC dedelberg@sh-law.com edelbergdr82964@notify.bestcase.com

David Edelberg
                          on behalf of Creditor County of Placer dedelberg@sh-law.com edelbergdr82964@notify.bestcase.com
          Case 23-13359-VFP           Doc 3341 Filed 07/03/24                        Entered 07/04/24 00:19:12                      Desc
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David Graff
                          on behalf of Creditor Telegraph Marketplace Partners II LLC dgraff@graffsilversteinllp.com

David Pizzica
                          on behalf of Creditor Penelope Duczkowski dpizzica@pansinilaw.com vstafford@pansinilaw.com

David Pizzica
                          on behalf of Debtor Bed Bath & Beyond Inc. dpizzica@pansinilaw.com vstafford@pansinilaw.com

David Pizzica
                          on behalf of Creditor Joseph Duczkowski dpizzica@pansinilaw.com vstafford@pansinilaw.com

David B Wheeler
                          on behalf of Creditor Dominion Energy South Carolina davidwheeler@mvalaw.com

David H. Pikus
                          on behalf of Creditor Acxiom LLC dpikus@bressler.com

David H. Stein
                          on behalf of Creditor Enid Two LLC dstein@wilentz.com, ciarkowski@wilentz.com

David H. Stein
                          on behalf of Creditor Levtex LLC dstein@wilentz.com, ciarkowski@wilentz.com

David H. Stein
                          on behalf of Unknown Role Type Bexar County Appraisal District dstein@wilentz.com ciarkowski@wilentz.com

David H. Stein
                          on behalf of Unknown Role Type Victoria Foster dstein@wilentz.com ciarkowski@wilentz.com

David H. Stein
                          on behalf of Unknown Role Type Alfred Zeve dstein@wilentz.com ciarkowski@wilentz.com

David L. Bruck
                          on behalf of Creditor Chase Green Mountain LP bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Triple B Mission Viejo LLC bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Chenal Place Properties LLC bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Almaden Plaza Shopping Center Inc. bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Brothers International Holding Corporation and Almaden Plaza Shopping Center Inc.
                          bankruptcy@greenbaumlaw.com

David M Stauss
                          on behalf of Creditor CBL & Associates Management Inc. david.stauss@huschblackwell.com,
                          serena.gray@huschblackwell.com;david-stauss-2550@ecf.pacerpro.com

David M Stauss
                          on behalf of Interested Party Safety National Casualty Corporation david.stauss@huschblackwell.com
                          serena.gray@huschblackwell.com;david-stauss-2550@ecf.pacerpro.com

David M Stauss
                          on behalf of Interested Party Safety Specialty Insurance Company david.stauss@huschblackwell.com
                          serena.gray@huschblackwell.com;david-stauss-2550@ecf.pacerpro.com

David M. Bass
                          on behalf of Debtor Bed Bath & Beyond Inc. dbass@coleschotz.com

David P. Primack
                          on behalf of Creditor THF Harrisonburg Crossing LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor GKT Shoppes at Legacy Park dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Paxton Towne Center Development LP dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor GKT Gallatin Shopping Center dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Coral North LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Monroe Louisiana 2 LLC dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
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                          on behalf of Creditor Shreve Center DE LLC dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Logan Town Centre LP dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor SLO Promenade DE LLC dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Mountain View Plaza LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor The Shoppes at Wilton LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor Grand Mesa Center LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG-Manchester Highland dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor MCS-Lancaster DE LP dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor Wedgewood Hills Inc. dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor Epps Bridge Centre Property Co LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor Carson Valley Center LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor Dreamland Shopping Center dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor Manhattan Marketplace SC LLC dprimack@mgmlaw.com scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Biscayne LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor THF/MRP Tiger Town LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Woodmen Commons LLC dprimack@mgmlaw.com, scarney@mdmc-law.com

David S. Catuogno
                          on behalf of Creditor Cartus Corporation david.catuogno@klgates.com

Dean Oswald
                          on behalf of Creditor DPEG Fountains LP dmoswald@pbnlaw.com, dmoswald@pbnlaw.com

Derek J. Baker
                          on behalf of Creditor Cherry Hill Retail Partners LLC dbaker@reedsmith.com

Diane Sanders
                          on behalf of Creditor San Marcos CISD austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor CAMERON COUNTY austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor McLennan County austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor City of McAllen austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor Nueces County austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor VICTORIA COUNTY austin.bankruptcy@lgbs.com

Don Stecker
                          on behalf of Creditor City of El Paso sanantonio.bankruptcy@lgbs.com

Don Stecker
                          on behalf of Creditor Bexar County sanantonio.bankruptcy@lgbs.com

Don A. Beskrone
                          on behalf of Creditor RetailMeNot Inc. DBeskrone@ashbygeddes.com,
                          rpalacio@ashbygeddes.com;snewman@ashbygeddes.com;ahrycak@ashbygeddes.com;gtaylor@ashbygeddes.com;adellose@ashb
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                           ygeddes.com

Donald F. Campbell, Jr.
                           on behalf of Creditor Carla Cox Smith dcampbell@ghclaw.com 4433@notices.nextchapterbk.com

Douglas J. McGill
                           on behalf of Creditor Ak-Sr-Ben Village L.L.C. dmcgill@webbermcgill.com

Douglas T Tabachnik
                           on behalf of Creditor Park West Village Phase I dtabachnik@dttlaw.com rdalba@dttlaw.com

Douglas T Tabachnik
                           on behalf of Creditor Casto-Oakbridge Venture Ltd dtabachnik@dttlaw.com, rdalba@dttlaw.com

Douglas T Tabachnik
                           on behalf of Creditor Panama City Beach Venture II dtabachnik@dttlaw.com rdalba@dttlaw.com

Douglas T Tabachnik
                           on behalf of Creditor Hanes M. Owner LLC and Hanes Z. Owner, LLC, Joint Tenants dtabachnik@dttlaw.com,
                           rdalba@dttlaw.com

Drew S. McGehrin
                           on behalf of Creditor NP New Castle LLC dsmcgehrin@duanemorris.com

Edmond P O'Brien
                           on behalf of Creditor RXR 620 Master Lessee LLC eobrien@kuckermarino.com jrich@cszlaw.com

Ellen M. McDowell
                           on behalf of Creditor Avalara Inc. emcdowell@mcdowelllegal.com,
                           lwood@mcdowelllegal.com;kgresh@mcdowelllegal.com;tcuccuini@mcdowelllegal.com;jmiller@mcdowelllegal.com;kbrocious
                           @mcdowelllegal.com;djamison@mcdowelllegal.com;cgetz@mcdowelllegal.com;r62202@notify.bestcase.com;mcdowe

Elliot D. Ostrove
                           on behalf of Creditor Iris Software Inc. e.ostrove@epsteinostrove.com

Eric Horn
                           on behalf of Creditor Warren Eisenberg ehorn@aystrauss.com
                           g31738@notify.cincompass.com,lediazlaw@gmail.com;diazlr82343@notify.bestcase.com;ldiaz@vogelbachpc.com;horner82343
                           @notify.bestcase.com

Eric Horn
                           on behalf of Creditor Leonard Feinstein ehorn@aystrauss.com
                           g31738@notify.cincompass.com,lediazlaw@gmail.com;diazlr82343@notify.bestcase.com;ldiaz@vogelbachpc.com;horner82343
                           @notify.bestcase.com

Eric S. Chafetz
                           on behalf of Interested Party Pagosa Partners III Ltd. echafetz@lowenstein.com

Eric S. Chafetz
                           on behalf of Interested Party CPT Arlington Highlands 1 LP echafetz@lowenstein.com

Ericka Fredricks Johnson
                           on behalf of Interested Party Burlington Stores Inc. ejohnson@bayardlaw.com,
                           rhudson@bayardlaw.com;ccampbell@bayardlaw.com

Erin Teske
                           on behalf of Creditor SRK Lady Lake 21 SPE LLC eteske@csglaw.com

Erin Teske
                           on behalf of Creditor Benchmark-Clarence Associates LLC eteske@csglaw.com

Evan J. Zucker
                           on behalf of Creditor 1019 Central Avenue Corp. ezucker@blankrome.com nybankruptcydocketing@blankrome.com

Faye C Rasch
                           on behalf of Creditor SHI Owner LLC faye@wrlawgroup.com, tennille@wrlawgroup.com

Felice R. Yudkin
                           on behalf of Debtor Bed Bath & Beyond Inc. fyudkin@coleschotz.com fpisano@coleschotz.com

Fernand L Laudumiey, IV
                           on behalf of Creditor Richards Clearview LLC laudumiey@chaffe.com

Fran B. Steele
                           on behalf of U.S. Trustee U.S. Trustee Fran.B.Steele@usdoj.gov

Francis J. Ballak
                           on behalf of Creditor Phyllis Eichner francis@gmslaw.com

Frank F. Velocci
                           on behalf of Creditor Prologis frank.velocci@faegredrinker.com cathy.greer@faegredrinker.com

Frank F. Velocci
              Case 23-13359-VFP       Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                             Desc
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                          on behalf of Creditor Prologis USLF NV II LLC frank.velocci@faegredrinker.com, cathy.greer@faegredrinker.com

Geoffrey Edward Lynott
                          on behalf of Creditor Verizon Entities glynott@mccarter.com lharkins@mccarter.com;lrestivo@mccarter.com

Gregory Plotko
                          on behalf of Interested Party Infor (US) LLC gplotko@btlaw.com, mschneider@rkollp.com,greg-plotko-2613@ecf.pacerpro.com

Gregory S. Kinoian
                          on behalf of Interested Party Ad Hoc Committee of Bondholders gkinoian@genovaburns.com

Gregory W. Hauswirth
                          on behalf of Defendant Thorley Industries LLC ghauswirth@ch-legal.com
                          pcarothers@ch-legal.com;dbender@ch-legal.com;cfaber@ch-legal.com

Ilana Volkov
                          on behalf of Interested Party Dewar Capital LLC ivolkov@mcgrailbensinger.com

Ira Deiches
                          on behalf of Defendant Furniture Store Express Inc. ideiches@deicheslaw.com, deichesir85617@notify.bestcase.com

J. Alexandra Rhim
                          on behalf of Creditor Realty Income Corporation arhim@hrhlaw.com

Jack Shrum
                          on behalf of Creditor Baby Trend Inc. jshrum@jshrumlaw.com

Jack Shrum
                          on behalf of Defendant Baby Trend Inc. jshrum@jshrumlaw.com

Jaclyn Dopke
                          on behalf of Creditor Federated Service Solutions c/o Jaclyn Scarduzio Dopke fleischercases@fleischerlaw.com
                          jdopke@fleischerlaw.com

James McCartney
                          on behalf of Creditor Caparra Center Associates LLC JMcCartney@mcwpc.com

James C Vandermark
                          on behalf of Creditor Google LLC vandermarkj@whiteandwilliams.com vandermark.jamesr106165@notify.bestcase.com

James C Vandermark
                          on behalf of Creditor Salesforce.com inc. vandermarkj@whiteandwilliams.com, vandermark.jamesr106165@notify.bestcase.com

James C. Thoman
                          on behalf of Creditor Benchmark-Clarence Associates LLC jthoman@hodgsonruss.com, rleek@hodgsonruss.com

James C. Thoman
                          on behalf of Creditor SRK Lady Lake 21 SPE LLC jthoman@hodgsonruss.com, rleek@hodgsonruss.com

James Frederick Lorusso
                          on behalf of Creditor Penelope Duczkowski florusso@pansinilaw.com

James Frederick Lorusso
                          on behalf of Creditor Joseph Duczkowski florusso@pansinilaw.com

James P Chou
                          on behalf of Counter-Claimant Mara Sirhal jchou@moritthock.com

James S. Carr
                          on behalf of Creditor Ryder Integrated Logistics Inc.
                          KDWBankruptcyDepartment@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

James S. Yu
                          on behalf of Creditor CA 5-15 West 125th LLC jyu@seyfarth.com nycdocket@seyfarth.com;rpinkston@seyfarth.com

James S. Yu
                          on behalf of Creditor 36 Monmouth Plaza jyu@seyfarth.com nycdocket@seyfarth.com;rpinkston@seyfarth.com

Jamese Suozzo
                          on behalf of Interested Party Case Snow Management LLC james.suozzo@rivkin.com,
                          matthew.spero@rivkin.com;stuart.gordon@rivkin.com

Jamese Suozzo
                          on behalf of Interested Party 250 Hudson Street LLC james.suozzo@rivkin.com,
                          matthew.spero@rivkin.com;stuart.gordon@rivkin.com

Jami B. Nimeroff
                          on behalf of Creditor Mode Transportation Inc. jnimeroff@bmnlawyers.com, cjones@bmnlawyers.com

Jami B. Nimeroff
                          on behalf of Creditor Waldorf Shoppers' World LLC jnimeroff@bmnlawyers.com, cjones@bmnlawyers.com

Jaspreet S. Mayall
           Case 23-13359-VFP          Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                         Desc
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                          on behalf of Creditor 3600 Long Beach Road LLC ,
                          jmayall@certilmanbalin.com;rnosek@certilmanbalin.com;afollett@certilmanbalin.com;cfollett@certilmanbalin.com

Jaspreet S. Mayall
                          on behalf of Creditor Serota Islip NC LLC
                          jmayall@certilmanbalin.com;rnosek@certilmanbalin.com;afollett@certilmanbalin.com;cfollett@certilmanbalin.com

Jay B. Solomon
                          on behalf of Creditor Mastic Associates of New York LLC jsolomon@bbgllp.com

Jay L. Lubetkin
                          on behalf of Creditor Mad River Development LLC jlubetkin@rltlawfirm.com rgaydos@rltlawfirm.com

Jeffrey Bernstein
                          on behalf of Creditor HRTC 1 LLC jbernstein@mdmc-law.com

Jeffrey Kurtzman
                          on behalf of Creditor Tamarack Village Shopping Center A Limited Partnership kurtzman@kurtzmansteady.com

Jeffrey Kurtzman
                          on behalf of Creditor Water Tower Square Associates kurtzman@kurtzmansteady.com

Jeffrey Ruderman
                          on behalf of Creditor RXR 620 Master Lessee LLC jruderman@cszlaw.com

Jeffrey A. Cooper
                          on behalf of Defendant IEnjoy LLC jcooper@rltlawfirm.com cooperatty@aol.com;rgaydos@rltlawfirm.com

Jeffrey A. Lester
                          on behalf of Interested Party Western Carriers Inc. jlester@bllaw.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Joshua Schechter jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Andrea Weiss jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Estate of Gustavo Arnal jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Janet Barth jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Laura Crossen jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Sue Gove jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Harriet Edelman jrosenthal@cgsh.com

Jeffrey A. Rosenthal
                          on behalf of Interested Party Susie Kim jrosenthal@cgsh.com

Jeffrey C. Wisler
                          on behalf of Creditor IRC Prairie Crossings L.L.C. jwisler@connollygallagher.com

Jeffrey C. Wisler
                          on behalf of Creditor IRC Woodfield Plaza L.L.C. jwisler@connollygallagher.com

Jenny R. Kasen
                          on behalf of Defendant Avanti Linens Inc. jkasen@kasenlaw.com, dkasen@kasenlaw.com

Jenny R. Kasen
                          on behalf of Defendant Advanced Systems Inc. jkasen@kasenlaw.com, dkasen@kasenlaw.com

Jenny R. Kasen
                          on behalf of Defendant Argo Inc. jkasen@kasenlaw.com, dkasen@kasenlaw.com

Jeremy M. Campana
                          on behalf of Creditor InterDesign Inc. jeremy.campana@thompsonhine.com, ECFDocket@thompsonhine.com

Jeremy M. Campana
                          on behalf of Creditor IMI Huntsville LLC a/k/a Bridge Street Town Centre jeremy.campana@thompsonhine.com
                          ECFDocket@thompsonhine.com

Jerrold S. Kulback
                          on behalf of Creditor HCL Technologies Limited jkulback@archerlaw.com chansen@archerlaw.com

Jerrold S. Kulback
                          on behalf of Creditor Hingham Launch Property LLC jkulback@archerlaw.com, chansen@archerlaw.com
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Jerrold S. Kulback
                               on behalf of Creditor CP Venture Five - AV LLC jkulback@archerlaw.com, chansen@archerlaw.com

Jesse M. Harris
                               on behalf of Creditor Microsoft Corporation jesseharris@foxrothschild.com

Jessica Deborah Mikhailevich
                               on behalf of Interested Party Tiger Capital Group LLC jessica.mikhailevich@troutman.com, wlbank@troutman.com

Jessica Deborah Mikhailevich
                               on behalf of Interested Party Ollie's Bargain Outlet Inc. jessica.mikhailevich@troutman.com, wlbank@troutman.com

Jessica Deborah Mikhailevich
                               on behalf of Interested Party Gordon Brothers Retail Partners LLC jessica.mikhailevich@troutman.com, wlbank@troutman.com

Jessica Deborah Mikhailevich
                               on behalf of Other Prof. Hilco Merchant Resources LLC and Gordon Brothers Retail Partners, LLC
                               jessica.mikhailevich@troutman.com, wlbank@troutman.com

Jessica Deborah Mikhailevich
                               on behalf of Interested Party NPMC Retail LLC jessica.mikhailevich@troutman.com, wlbank@troutman.com

Jessica Deborah Mikhailevich
                               on behalf of Interested Party B. Riley Retail Solutions LLC jessica.mikhailevich@troutman.com, wlbank@troutman.com

John Greco
                               on behalf of Creditor Evergreen Line jgreco@bge-law.com

John Greco
                               on behalf of Creditor Evergreen Shipping Agency (America) Corporation jgreco@bge-law.com

John O'Boyle
                               on behalf of Creditor 101 & Scottsdale LLC joboyle@norgaardfirm.com,
                               amartinez@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb
                               124931@notify.bestcase.com

John David Folds
                               on behalf of Creditor Bayer Development Company LLC dfolds@bakerdonelson.com

John David Folds
                               on behalf of Creditor Hart Miracle Marketplace LLC dfolds@bakerdonelson.com

John David Folds
                               on behalf of Creditor Cobb Place Property LLC dfolds@bakerdonelson.com

John David Folds
                               on behalf of Creditor Hart TC I-III LLC dfolds@bakerdonelson.com

John Kendrick Turner
                               on behalf of Creditor Smith County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                               on behalf of Creditor Tom Green Cad john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Michael McDonnell
                               on behalf of Attorney Brian T. Crowley Esq. jmcdonnell@mchfirm.com

John Michael McDonnell
                               on behalf of Attorney Richard J. Corbi Esquire jmcdonnell@mchfirm.com

John Michael McDonnell
                               on behalf of Interested Party Taussig Risk Capital Advisors Inc. jmcdonnell@mchfirm.com

John Michael McDonnell
                               on behalf of Attorney Richard J. Corbi Esq. jmcdonnell@mchfirm.com

John Michael McDonnell
                               on behalf of Attorney John M. McDonnell Esq. jmcdonnell@mchfirm.com

John S. Mairo
                               on behalf of Creditor Sama Plastics Corp. and Sama Wood LLC jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor U.S. 41 & I-285 Company LLC jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor DFW Lewisville Partners GP jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor DPEG Fountains LP jsmairo@pbnlaw.com,
           Case 23-13359-VFP               Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                                Desc
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                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor County of Riverside jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor KMO-361 (Paramus) LLC jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor MLO Great South Bay LLC jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor County of Santa Clara jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor County of Fresno jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor County of Los Angeles jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor Siegen Lane Properties LLC jsmairo@pbnlaw.com
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John S. Mairo
                               on behalf of Creditor Northway Mall Properties Sub LLC jsmairo@pbnlaw.com,
                               pnbalala@pbnlaw.com;mpdermatis@pbnlaw.com;jmoconnor@pbnlaw.com

John W. Weiss
                               on behalf of Interested Party OXO International Ltd. jweiss@pashmanstein.com

John W. Weiss
                               on behalf of Interested Party Kaz USA Inc. jweiss@pashmanstein.com

John W. Weiss
                               on behalf of Interested Party Kaz Canada Inc. jweiss@pashmanstein.com

John W. Weiss
                               on behalf of Interested Party Helen of Troy L.P. jweiss@pashmanstein.com

Jonathan S. Bodner
                               on behalf of Creditor BVCV Union Plaza LLC jbodner@bodnerlawpllc.com

Jonathan S. Bodner
                               on behalf of Creditor International Warehouse Group Inc. jbodner@bodnerlawpllc.com

Jonathan S. Bodner
                               on behalf of Creditor International Distribution Group LLC jbodner@bodnerlawpllc.com

Jonathan S. Bodner
                               on behalf of Creditor BV Waco Central Texas Marketplace LLC jbodner@bodnerlawpllc.com

Jordan Seth Blask
                               on behalf of Creditor Tempur Sealy International Inc. jblask@fbtlaw.com, rmccartney@fbtlaw.com

Jordan Seth Blask
                               on behalf of Creditor Cintas Corporation jblask@fbtlaw.com rmccartney@fbtlaw.com

Jordan Seth Blask
                               on behalf of Creditor Select Consolidated Management LLC jblask@fbtlaw.com, rmccartney@fbtlaw.com

Jordan Seth Blask
                               on behalf of Creditor WPG Legacy LLC jblask@fbtlaw.com, rmccartney@fbtlaw.com

Joseph A McCormick, Jr.
                               on behalf of Interested Party Blair Image Elements Inc. jmccormick@mcdowelllegal.com,
                               djamison@mcdowelllegal.com;jmiller@mcdowelllegal.com;ppflumm@mcdowelllegal.com;trios@mcdowelllegal.com

Joseph Charles Barsalona, II
                               on behalf of Interested Party Lead Plaintiff Bratya SPRL and Co-Lead Counsel for the Securities Action Plaintiffs
                               jbarsalona@pashmanstein.com

Joseph Charles Barsalona, II
                               on behalf of Creditor Gartner Inc. jbarsalona@pashmanstein.com

Joseph H Baldiga
                               on behalf of Creditor Running Hill SP LLC jbaldiga@mirickoconnell.com
          Case 23-13359-VFP           Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                         Desc
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Joseph H. Lemkin
                          on behalf of Creditor Levin Management Corporation jlemkin@stark-stark.com

Joseph H. Lemkin
                          on behalf of Creditor Springfield Plaza Limited Partnership jlemkin@stark-stark.com

Joseph H. Lemkin
                          on behalf of Creditor Richards Clearview LLC jlemkin@stark-stark.com

Joseph H. Lemkin
                          on behalf of Creditor Conopco Inc. dba Unilever United States jlemkin@stark-stark.com

Joseph H. Lemkin
                          on behalf of Creditor Riskified Inc. jlemkin@stark-stark.com

Joshua Sussberg
                          on behalf of Debtor Bed Bath & Beyond Inc. joshua.sussberg@kirkland.com
                          amy-donahue-2664@ecf.pacerpro.com;ecf-00163ec7e7ea@ecf.pacerpro.com

Joshua S. Bauchner
                          on behalf of Creditor Texas Taxing Authorities jbauchner@mblawfirm.com
                          courtfilings@ansellgrimm.com;ajd@ansellgrimm.com

Julie Anne Parsons
                          on behalf of Creditor Texas Taxing Authorities jparsons@mvbalaw.com

Kenneth A. Rosen
                          on behalf of Creditor Continental Web Press Inc. krosen@lowenstein.com, dclaussen@lowenstein.com

Kenneth A. Rosen
                          on behalf of Interested Party Michael's Stores Inc. krosen@lowenstein.com, dclaussen@lowenstein.com

Kenneth L. Baum
                          on behalf of Creditor Creekstone/Juban I LLC kbaum@kenbaumdebtsolutions.com, ddipiazza@kenbaumdebtsolutions.com

Kenneth L. Baum
                          on behalf of Creditor Columbus Park Crossing LLC kbaum@kenbaumdebtsolutions.com, ddipiazza@kenbaumdebtsolutions.com

Kenneth L. Baum
                          on behalf of Creditor Forum Lone Star L.P. kbaum@kenbaumdebtsolutions.com, ddipiazza@kenbaumdebtsolutions.com

Kenneth M Klemm
                          on behalf of Creditor Hart TC I-III LLC kklemm@bakerdonelson.com

Kenneth M Klemm
                          on behalf of Creditor Bayer Development Company LLC kklemm@bakerdonelson.com

Kenneth M Klemm
                          on behalf of Creditor Hart Miracle Marketplace LLC kklemm@bakerdonelson.com

Kenneth M Klemm
                          on behalf of Creditor Cobb Place Property LLC kklemm@bakerdonelson.com

Keri P. Ebeck
                          on behalf of Creditor Realty Income Corporation KEBECK@BERNSTEINLAW.COM
                          btemple@bernsteinlaw.com;kebeck@ecf.courtdrive.com;agilbert@bernsteinlaw.com

Keri P. Ebeck
                          on behalf of Creditor Duquesne Light Company KEBECK@BERNSTEINLAW.COM
                          btemple@bernsteinlaw.com;kebeck@ecf.courtdrive.com;agilbert@bernsteinlaw.com

Kevin C Calhoun
                          on behalf of Creditor Oaklad County Treasurer kevin@lawyermich.com

Kevin M. Capuzzi
                          on behalf of Creditor MSC Mediterranean Shipping Company SA kcapuzzi@beneschlaw.com
                          docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Kevin M. Capuzzi
                          on behalf of Creditor Infosys Limited kcapuzzi@beneschlaw.com docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Kevin M. Capuzzi
                          on behalf of Creditor PREP Home Retail-Oceanside LLC kcapuzzi@beneschlaw.com
                          docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Kevin M. Capuzzi
                          on behalf of Creditor DoorDash Inc. kcapuzzi@beneschlaw.com, docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Kevin M. Capuzzi
                          on behalf of Creditor Infosys McCamish Systems LLC kcapuzzi@beneschlaw.com
                          docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Kevin Scott Mann
           Case 23-13359-VFP          Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                       Desc
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                          on behalf of Creditor NP Royal Ridge LLC kmann@crosslaw.com smacdonald@crosslaw.com;mjoyce@crosslaw.com

Kevin Scott Mann
                          on behalf of Interested Party Flexport Inc. kmann@crosslaw.com, smacdonald@crosslaw.com;mjoyce@crosslaw.com

Kristen Peters Watson
                          on behalf of Creditor Seritage SRC Finance LLC kwatson@burr.com jcarlin@burr.com;sfoshee@burr.com

Kristen Peters Watson
                          on behalf of Creditor SF WH Property Owner LLC kwatson@burr.com jcarlin@burr.com;sfoshee@burr.com

Kristen Peters Watson
                          on behalf of Creditor DS Properties 18 LP kwatson@burr.com jcarlin@burr.com;sfoshee@burr.com

Kristen Peters Watson
                          on behalf of Creditor Comenity Capital Bank kwatson@burr.com jcarlin@burr.com;sfoshee@burr.com

Kyle McEvilly
                          on behalf of Defendant Caliber Americas LLC kmcevilly@gibbonslaw.com

Lauren M. Macksoud
                          on behalf of Defendant Best Chairs Incorporated lauren.macksoud@dentons.com

Lauren M. Macksoud
                          on behalf of Creditor Mishorim 255 LLC and Mishorim Gold Houston, LLC lauren.macksoud@dentons.com

Lauren Rebecca Jacoby
                          on behalf of Interested Party Kelly Burt-Deasy lrjacoby@hootenandjacobylaw.com

Lawrence J Hilton
                          on behalf of Creditor HRTC 1 LLC lhilton@onellp.com lthomas@onellp.com

Lee Squitieri
                          on behalf of Plaintiff Judith Cohen lee@sfclasslaw.com

Lee Squitieri
                          on behalf of Creditor Judith Cohen lee@sfclasslaw.com

Leslie Carol Heilman
                          on behalf of Creditor ARG PSALBNM001 LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARG SAABITX001 LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARG FSBROWI001 LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Deutsche Asset & Wealth Management heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor 209-261 Junction Road Madison Investors LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor 210 Development LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Brixmor GA Cobblestone Village St. Augustine LLC heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor CVSC LLC heilmanl@ballardspahr.com, vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Agua Mansa Commerce Phase I LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARC ASANDSC001 LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Fairview Shopping Center LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor GC Ambassador Courtyard LLC heilmanl@ballardspahr.com,
          Case 23-13359-VFP           Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                         Desc
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                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor CLPF Marketplace LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor UBS Realty Investors LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor PF Portfolio 2 LP heilmanl@ballardspahr.com, vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor MGP XII Magnolia LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Brixmor Operating Partnership LP heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Urban Edge Properties L.P. heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Federal Realty OP LP heilmanl@ballardspahr.com vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Heitman heilmanl@ballardspahr.com vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor UE 675 Route 1 LLC heilmanl@ballardspahr.com vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Congressional Plaza Associates LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor EDENS heilmanl@ballardspahr.com vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARC CLORLFL001 LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARC BHT-VCMI001 LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Lisa M. Solomon
                          on behalf of Attorney DC USA Operating Co. LLC lisa.solomon@att.net

Loren L. Speziale
                          on behalf of Creditor Township of Whitehall lspeziale@grossmcginley.com jkacsur@grossmcginley.com

Marianna Udem
                          on behalf of Plaintiff Michael Goldberg mudem@askllp.com

Mark Minuti
                          on behalf of Interested Party Loja WTP LLC mark.minuti@saul.com, robyn.warren@saul.com

Mark Christopher Errico
                          on behalf of Interested Party Blue Yonder Inc. mark.errico@squirepb.com,
                          maria.depinho@squirepb.com;mark-c-errico-7862@ecf.pacerpro.com;rudy.green@squirepb.com;rudy-green-3307@ecf.pacerpro.
                          com

Mark E. Hall
                          on behalf of Creditor Silvertown Inc. mhall@foxrothschild.com, cbrown@foxrothschild.com

Mark S. Lichtenstein
                          on behalf of Counter-Defendant Bed Bath & Beyond Inc. mark.lichtenstein@akerman.com Reyko.delpino@akerman.com

Mark S. Lichtenstein
                          on behalf of Debtor Bed Bath & Beyond Inc. mark.lichtenstein@akerman.com Reyko.delpino@akerman.com

Mark S. Lichtenstein
                          on behalf of Other Prof. Michael Goldberg mark.lichtenstein@akerman.com Reyko.delpino@akerman.com

Mark S. Lichtenstein
                          on behalf of Plaintiff Bed Bath & Beyond Inc. mark.lichtenstein@akerman.com Reyko.delpino@akerman.com

Marshall Dworkin
                          on behalf of Defendant Mara Sirhal mdworkin@moritthock.com
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Marshall Dworkin
                          on behalf of Counter-Claimant Mara Sirhal mdworkin@moritthock.com

Marshall Dworkin
                          on behalf of Counter-Defendant Bed Bath & Beyond Inc. mdworkin@moritthock.com

Marshall Dworkin
                          on behalf of Creditor Studio City East 93K LLC mdworkin@moritthock.com

Marshall Dworkin
                          on behalf of Unknown Role Type Mara Sirhal mdworkin@moritthock.com

Martin A. Sosland
                          on behalf of Creditor Pittsburgh Hilton Head Associates L.P. martin.sosland@butlersnow.com

Matthew E. Kaslow
                          on behalf of Creditor Willowbrook Town Center LLC mkaslow@blankrome.com

Melissa A. Pena
                          on behalf of Creditor CSHV Woodlands LP mapena@norris-law.com, pfreda@nmmlaw.com

Melissa A. Pena
                          on behalf of Creditor San Antonio Central Park Associates LLC mapena@norris-law.com, pfreda@nmmlaw.com

Melissa A. Pena
                          on behalf of Creditor Overton Park Plaza Associates LLC mapena@norris-law.com, pfreda@nmmlaw.com

Melissa A. Pena
                          on behalf of Creditor Rushmore Crossing LLC mapena@norris-law.com, pfreda@nmmlaw.com

Melissa E. Valdez
                          on behalf of Creditor Texas Taxing Authorities mvaldez@pbfcm.com

Meredith Mitnick
                          on behalf of Creditor SharkNinja Operating LLC mmitnick@goodwinlaw.com

Merrill M. O'Brien
                          on behalf of Creditor F3 Metalworx Inc. obrien@obrienthornton.com, meg.ohayon@obrienthornton.com

Michael Korik
                          on behalf of Creditor JMCR Sherman LP mkorik@gruenlaw.com

Michael Kwiatkowski
                          on behalf of Creditor Florida Power & Light Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Public Service Electric and Gas Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Massachusetts Electric Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor San Diego Gas and Electric Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Potomac Edison Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor KeySpan Energy Delivery Long Island mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Public Service Company of New Hampshire mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor New York State Electric and Gas Corporation mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Consolidated Edison Company of New York Inc. mkwiatkowski@cullenllp.com, crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor PECO Energy Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Peoples Gas System Inc. mkwiatkowski@cullenllp.com, crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Boston Gas Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Rochester Gas & Electric Corporation mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Yankee Gas Service Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com
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Michael Kwiatkowski
                          on behalf of Creditor Narragansett Electric Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor West Penn Power Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Baltimore Gas and Electric Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Georgia Power Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Niagara Mohawk Power Corporation mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Eversource Gas of Massachusetts mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Atlantic City Electric Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Jersey Central Power & Light Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor American Electric Power mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Salt River Project mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Commonwealth Edison Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Tucson Electric Power Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor The Cleveland Electric Illuminating Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Virginia Electric and Power Company d/b/a Dominion Energy Virginia mkwiatkowski@cullenllp.com
                          crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor UNS Gas Inc. mkwiatkowski@cullenllp.com, crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Toledo Edison Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Colonial Gas Cape Cod mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Arizona Public Service Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Ohio Edison Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Delmarva Power & Light Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor The East Ohio Gas Company d/b/a Dominion Energy Ohio mkwiatkowski@cullenllp.com
                          crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor NStar Electric Company Western Massachusetts mkwiatkowski@cullenllp.com, crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor NV Energy Inc. mkwiatkowski@cullenllp.com, crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Pennsylvania Power Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Tampa Electric Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Monongahela Power Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor The Connecticut Light & Power Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com
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Michael Kwiatkowski
                          on behalf of Creditor KeySpan Energy Delivery New York mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor Southern California Edison Company mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael Kwiatkowski
                          on behalf of Creditor PSEG Long Island mkwiatkowski@cullenllp.com crodriguez@cullenllp.com

Michael B. Reynolds
                          on behalf of Defendant Baby Trend Inc. mreynolds@swlaw.com, kcollins@swlaw.com

Michael D. Sirota
                          on behalf of Debtor Harmon of Caldwell Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Decorist LLC msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Knoxville Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Arundel Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Hackensack Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor BBB Value Services Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Falls Church Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Birmingham Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Totowa Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Of a Kind Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor BBBY Management Corporation msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Attorney Cole Schotz P.C. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Portland Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Paradise Valley Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
          Case 23-13359-VFP          Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                      Desc
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                          on behalf of Debtor Bed Bath & Beyond of Lincoln Park Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Opry Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Plainview Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Hanover Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Towson Inc msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Palm Desert Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Louisville Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Fashion Center Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Overland Park Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Liberty Procurement Co. Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor BBBYCF LLC msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Davenport Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Manhattan, Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Waldorf Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Carlstadt Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Springfield Buy Buy Baby Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Hartsdale Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com
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Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Lexington Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor BBB Canada LP Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Yonkers Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Newton Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Rockaway Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Melville Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Deerbrook Bed Bath & Beyond Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor bed 'n bath Stores Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Franklin Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Chef C Holdings LLC msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Annapolis Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of East Hanover Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Manalapan Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Edgewater Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Brentwood Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Gallery Place L.L.C. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
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                          .com

Michael D. Sirota
                          on behalf of Debtor Buy Buy Baby of Totowa Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Alamo Bed Bath & Beyond Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor BWAO LLC msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Raritan Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Westfield Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Buy Buy Baby of Rockville Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Mandeville Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Baton Rouge Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of California Limited Liability Company msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Pittsford Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Buy Buy Baby Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Old Bridge Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Shrewsbury Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Wayne Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Virginia Beach Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Massapequa Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
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                          on behalf of Debtor One Kings Lane LLC msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Rockford Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Woodbridge Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor BBBYTF LLC msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Gaithersburg Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon Stores Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor San Antonio Bed Bath & Beyond Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Plaintiff Bed Bath & Beyond Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Frederick Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Bed Bath & Beyond of Bridgewater Inc. msirota@coleschotz.com
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of Greenbrook II Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael D. Sirota
                          on behalf of Debtor Harmon of New Rochelle Inc. msirota@coleschotz.com,
                          fpisano@coleschotz.com;ssallie@coleschotz.com;lmorton@coleschotz.com;pratkowiak@coleschotz.com;ddelehanty@coleschotz
                          .com

Michael R. Herz
                          on behalf of Interested Party Whitestone Eldorado Plaza LLC mherz@foxrothschild.com cbrown@foxrothschild.com

Michael S Tucker
                          on behalf of Creditor MLO Great South Bay LLC mtucker@ulmer.com

Michael S Tucker
                          on behalf of Creditor Siegen Lane Properties LLC mtucker@ulmer.com

Michael S Tucker
                          on behalf of Creditor KMO-361 (Paramus) LLC mtucker@ulmer.com

Michael S Tucker
                          on behalf of Creditor Northway Mall Properties Sub LLC mtucker@ulmer.com

Michael S Tucker
                          on behalf of Creditor U.S. 41 & I-285 Company LLC mtucker@ulmer.com

Mollie Margaret Lerew
                          on behalf of Creditor Texas Taxing Authorities mlerew@pbfcm.com

Monique Bair DiSabatino
                          on behalf of Creditor College Plaza Station LLC mdisabatino@saul.com robyn.warren@saul.com
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Monique Bair DiSabatino
                          on behalf of Creditor Town & Country (CA) Station L.P. mdisabatino@saul.com robyn.warren@saul.com

Monique Bair DiSabatino
                          on behalf of Creditor Phillips Edison & Company mdisabatino@saul.com robyn.warren@saul.com

Morris J. Schlaf
                          on behalf of Creditor Eleni Zervos mschlaf@saccofillas.com mschlaf@recap.email

Morris S. Bauer
                          on behalf of Other Prof. Sixth Street Specialty Lending Inc. MSBauer@duanemorris.com, tjsantorelli@duanemorris.com

Nancy Isaacson
                          on behalf of Creditor Garfield-Southcenter LLC nisaacson@greenbaumlaw.com

Naznen Rahman
                          on behalf of Interested Party Ad Hoc Committee of Bondholders nrahman@glennagre.com

Nicole A. Leonard
                          on behalf of Creditor HRTC 1 LLC nleonard@mdmc-law.com gbressler@mdmc-law.com

Nicole M. Nigrelli
                          on behalf of Creditor The Anna Mscisz Trust nnigrelli@ciardilaw.com sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Nicole M. Nigrelli
                          on behalf of Creditor Rainier Colony Place Acquisitions LLC nnigrelli@ciardilaw.com,
                          sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Owen M. Sonik
                          on behalf of Creditor Clear Creek Independent School District osonik@pbfcm.com
                          osonik@ecf.inforuptcy.com;mvaldez@pbfcm.com

Owen M. Sonik
                          on behalf of Creditor Humble Independent School District osonik@pbfcm.com
                          osonik@ecf.inforuptcy.com;mvaldez@pbfcm.com

Owen M. Sonik
                          on behalf of Creditor City of Houston osonik@pbfcm.com osonik@ecf.inforuptcy.com;mvaldez@pbfcm.com

Owen M. Sonik
                          on behalf of Creditor Spring Branch Independent School Dist. osonik@pbfcm.com
                          osonik@ecf.inforuptcy.com;mvaldez@pbfcm.com

Owen M. Sonik
                          on behalf of Creditor Pasadena Independent School District osonik@pbfcm.com
                          osonik@ecf.inforuptcy.com;mvaldez@pbfcm.com

Pamela Elchert Thurmond
                          on behalf of Creditor LAW DEPT CITY OF PHILADELPHIA Pamela.Thurmond@phila.gov

Patricia W Holden
                          on behalf of Interested Party Foundations Worldwide Inc. pholden@c-wlaw.com

Patricia W Holden
                          on behalf of Defendant Foundations Worldwide Inc. pholden@c-wlaw.com

Paul Rubin
                          on behalf of Creditor Castle Ridge Plaza LLC prubin@rubinlawllc.com hhuynh@rubinlawllc.com

Paul Rubin
                          on behalf of Creditor Regent Shopping Center Inc. prubin@rubinlawllc.com hhuynh@rubinlawllc.com

Paul Rubin
                          on behalf of Creditor American Express Travel Related Services Company Inc. prubin@rubinlawllc.com,
                          hhuynh@rubinlawllc.com

Paul Hans Schafhauser
                          on behalf of Creditor IKEA Property Inc. schafhauserp@gtlaw.com,
                          paul-schafhauser--9519@ecf.pacerpro.com,hammers@gtlaw.com

Paul J. Winterhalter
                          on behalf of Creditor Simon Property Group pwinterhalter@offitkurman.com cballasy@offitkurman.com

Paul J. Winterhalter
                          on behalf of Creditor Saul Holdings Limited Partnership pwinterhalter@offitkurman.com, cballasy@offitkurman.com

Paul John Labov
                          on behalf of Other Prof. Plan Administrator plabov@pszjlaw.com lsc@pszjlaw.com

Paul John Labov
                          on behalf of Plaintiff Michael Goldberg plabov@pszjlaw.com lsc@pszjlaw.com

Paul John Labov
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                          on behalf of Other Prof. Michael Goldberg plabov@pszjlaw.com lsc@pszjlaw.com

Paul S. Murphy
                          on behalf of Creditor Pittsburgh Hilton Head Associates L.P. paul.murphy@butlersnow.com
                          ecf.notices@butlersnow.com,kitty.logan@butlersnow.com

Paul Stadler Pflumm
                          on behalf of Creditor Sharmele Moore ppflumm@mcdowelllegal.com
                          kgresh@mcdowelllegal.com;tcuccuini@mcdowelllegal.com;jmiller@mcdowelllegal.com;lwood@mcdowelllegal.com;djamison@
                          mcdowelllegal.com;cgetz@mcdowelllegal.com

Paul W Carey
                          on behalf of Creditor ISM Holdings Inc. pcarey@mirickoconnell.com

Paul W Carey
                          on behalf of Creditor Running Hill SP LLC pcarey@mirickoconnell.com

Richard Corbi
                          on behalf of Interested Party Taussig Risk Capital Advisors Inc. rcorbi@corbilaw.com

Richard L Fuqua, II
                          on behalf of Creditor PTCTX Holdings LLC fuqua@fuqualegal.com

Richard L Fuqua, II
                          on behalf of Creditor HCL Texas Avenue LLC fuqua@fuqualegal.com

Richard L. Zucker
                          on behalf of Creditor Taft Associates rzucker@lasserhochman.com

Richard L. Zucker
                          on behalf of Interested Party Taft Associates rzucker@lasserhochman.com

Rick Aaron Steinberg
                          on behalf of Creditor TOTE Maritime rsteinberg@pricemeese.com

Rick Aaron Steinberg
                          on behalf of Defendant Tote Maritime Alaska LLC rsteinberg@pricemeese.com

Robert Drain
                          on behalf of Interested Party John E. Fleming robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Sue Gove robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Harriet Edelman robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Andrea Weiss robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Virginia P. Ruesterholz robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Joshua Schechter robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Jeffrey A. Kirwan robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Mary A. Winston robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Drain
                          on behalf of Interested Party Ann Yerger robert.drain@skadden.com robert-drain-8056@ecf.pacerpro.com

Robert Malone
                          on behalf of Creditor Committee Official Committee Of Unsecured Creditors rmalone@gibbonslaw.com
                          nmitchell@gibbonslaw.com

Robert A. Rich
                          on behalf of Defendant Le Creuset of America Inc. rrich2@hunton.com, candonian@huntonak.com

Robert J Feinstein
                          on behalf of Creditor Committee Official Committee Of Unsecured Creditors rfeinstein@pszjlaw.com

Robert J Sproul
                          on behalf of Creditor County of Loudoun robert.sproul@loudoun.gov
                          ann.mccafferty@loudoun.gov;nicole.rodriguez@loudoun.gov

Robert L. LeHane
                          on behalf of Creditor Oak Street Investment Grade Net Lease Fund Series 2021-2 LLC rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com
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Robert L. LeHane
                          on behalf of Creditor Hines Global REIT Inc. rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Edison UNNJ001 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Kite Realty Group rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Blumenfeld Development Group Ltd rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor NNN REIT Inc. rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Edison TOCA001 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Benderson Development Company rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor DDRTC Marketplace at Mill Creek LLC rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor EDISON BRMA 001 LLC and EDISON FLFL001 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Edison NNVA001 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Edison DENJ011 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Oak Street Investment Grade Net Lease Fund Series 2021-1 LLC rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Oak Street Real Estate rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Basser Kaufman rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor EDISON BRMA 002 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor SITE Centers Corp. rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor ShopCore Properties rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Brookfield Properties Retail Inc rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Edison EHNJ001 LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Regency Centers L.P rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Lerner Properties rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com
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Robert L. LeHane
                          on behalf of Creditor Equity One Inc. rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Pinnacle Hills LLC rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor HGREIT II Edmondson Road LLC rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Daly City Serramonte Center LLC rlehane@kelleydrye.com,
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor SIPOC LLC rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert L. LeHane
                          on behalf of Creditor Nuveen Real Estate rlehane@kelleydrye.com
                          KDWBankruptcyDepartment@KelleyDrye.com;BankruptcyDepartment2@KelleyDrye.com;MVicinanza@ecf.inforuptcy.com

Robert M. Marshall
                          on behalf of Defendant Devgiri Exports LLC rmarshall@mqlaw.net

Robert S. Roglieri
                          on behalf of Interested Party World Market LLC rroglieri@trenkisabel.law, mmassoud@trenkisabel.law

Robert S. Westermann
                          on behalf of Creditor The Brink's Company rwestermann@hirschlerlaw.com rhenderson@hirschlerlaw.com

Ronald S. Gellert
                          on behalf of Creditor Seritage SRC Finance LLC rgellert@gsbblaw.com abrown@gsbblaw.com

Samuel P. Hershey
                          on behalf of Interested Party Michael's Stores Inc. sam.hershey@whitecase.com, mco@whitecase.com

Sari Blair Placona
                          on behalf of Creditor Salmar Properties LLC splacona@msbnj.com

Sari Blair Placona
                          on behalf of Interested Party Vista Property Company LLC and Rockwall Crossing SC, LP splacona@msbnj.com

Sari Blair Placona
                          on behalf of Interested Party Central Transport LLC splacona@msbnj.com

Scott Fleischer
                          on behalf of Creditor West Coast Highway LLC sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor Mission Valley Shoppingtown LLC sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor RPT Realty L.P. sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor Westfield LLC sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor RED Development LLC sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor Inland Commercial Real Estate Services L.L.C. sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor DLC Management Corp. sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor Rivercrest Realty Associates LLC sfleischer@barclaydamon.com

Scott Fleischer
                          on behalf of Creditor National Realty & Development Corp. sfleischer@barclaydamon.com

Scott A. Zuber
                          on behalf of Creditor Arch Insurance Company szuber@csglaw.com ecf@csglaw.com

Scott H. Bernstein
                          on behalf of Creditor Brinks U.S. a Division of Brinks, Incorporated scott@scottbernsteinlaw.com

Scott H. Bernstein
                          on behalf of Defendant Brink's Incorporated scott@scottbernsteinlaw.com
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Shai Schmidt
                          on behalf of Interested Party Ad Hoc Committee of Bondholders sschmidt@glennagre.com

Shawn M. Christianson
                          on behalf of Creditor Oracle America Inc. schristianson@buchalter.com, cmcintire@buchalter.com

Shmuel Klein
                          on behalf of Unknown Role Type No Place Like Home Corp shmuel.klein@verizon.net
                          bleichmanklein@gmail.com;kleinsr88450@notify.bestcase.com

Sommer Leigh Ross
                          on behalf of Other Prof. Sixth Street Specialty Lending Inc. slross@duanemorris.com, AutoDocketWILM@duanemorris.com

Stephanie R Sweeney
                          on behalf of Creditor Dream on Me Industries Inc. ssweeney@klestadt.com

Stephen R. Catanzaro
                          on behalf of Creditor Gotham Technology Group LLC scatanzaro@daypitney.com,
                          cparlapiano@daypitney.com;jcohen@daypitney.com

Steven A. Jayson
                          on behalf of Creditor Farley Real Estate Associates LLC sjayson@msklaw.net,
                          jloewenstein@msklaw.net;donnaz@msklaw.net;pmasiello@msklaw.net

Steven M. Kaplan
                          on behalf of Defendant Pem-America Inc. smk@kaplev.com, yco@kkvpc.com;ess@kkvpc.com

Steven P. Kartzman
                          on behalf of Creditor Farley Real Estate Associates LLC Trustee@msklaw.net,
                          nj16@ecfcbis.com;jloewenstein@msklaw.net;sjayson@msklaw.net;skartzman@msklaw.net;donnaz@msklaw.net;pmasiello@msk
                          law.net

Stuart D. Gavzy
                          on behalf of Creditor Township of Rockaway stuart@gavzylaw.com
                          lesliebrown.paralegal@gmail.com;gavzysr82824@notify.bestcase.com;4635996420@filings.docketbird.com;ecf123@casedriver.
                          com

Sunjae Lee
                          on behalf of Creditor GFA Alabama Inc. sunjae@jcklaw.com steve@jcklaw.com;john@jcklaw.com;debbie@jcklaw.com

Tansy Woan
                          on behalf of Interested Party Joshua E. Schechter tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Harriet Edelman tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Sue E. Gove tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Ann Yerger tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party John E. Fleming tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Jeffrey A. Kirwan tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Andrea Weiss tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Mary A. Winston tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
                          menbaum@skadden.com;michael.restey@skadden.com

Tansy Woan
                          on behalf of Interested Party Virginia P. Ruesterholz tansy.woan@skadden.com
                          tansy-woan-6181@ecf.pacerpro.com;jay.kasner@skadden.com;nick.peiffer@skadden.com;DLMLCNYC@skadden.com;judy.flu
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                          menbaum@skadden.com;michael.restey@skadden.com

Tara J. Schellhorn
                          on behalf of Creditor TPP Bryant LLC tschellhorn@riker.com

Tara J. Schellhorn
                          on behalf of Creditor Dadeland Station Associates Ltd. tschellhorn@riker.com

Thomas James Monroe
                          on behalf of Creditor Serota Islip NC LLC tmonroe@certilmanbalin.com

Thomas S. Onder
                          on behalf of Creditor Bell Tower Shops LLC tonder@stark-stark.com

Thomas S. Onder
                          on behalf of Creditor Somerville Circle Partnership tonder@stark-stark.com

Thomas S. Onder
                          on behalf of Creditor Gator Investments tonder@stark-stark.com

Thomas S. Onder
                          on behalf of Creditor Levin Management Corporation tonder@stark-stark.com

Thomas S. Onder
                          on behalf of Creditor North Village Associates tonder@stark-stark.com

Thomas S. Onder
                          on behalf of Creditor Richards Clearview LLC tonder@stark-stark.com

Thomas S. Onder
                          on behalf of Creditor Springfield Plaza Limited Partnership tonder@stark-stark.com

Tina Moss
                          on behalf of Creditor Workday Inc. tmoss@perkinscoie.com,
                          tina-moss-8527@ecf.pacerpro.com;Docketnyc@perkinscoie.com;nvargas@perkinscoie.com;MichelleRose@perkinscoie.com

Tina Moss
                          on behalf of Creditor Adobe Inc. tmoss@perkinscoie.com,
                          tina-moss-8527@ecf.pacerpro.com;Docketnyc@perkinscoie.com;nvargas@perkinscoie.com;MichelleRose@perkinscoie.com

Turner Falk
                          on behalf of Interested Party Loja WTP LLC turner.falk@saul.com, catherine.santangelo@saul.com;tnfalk@recap.email

Turner Falk
                          on behalf of Interested Party Brown Ranch Properties LP turner.falk@saul.com
                          catherine.santangelo@saul.com;tnfalk@recap.email

Turner Falk
                          on behalf of Creditor College Plaza Station LLC turner.falk@saul.com catherine.santangelo@saul.com;tnfalk@recap.email

Turner Falk
                          on behalf of Creditor Phillips Edison & Company turner.falk@saul.com catherine.santangelo@saul.com;tnfalk@recap.email

Turner Falk
                          on behalf of Creditor RAF Johnson City LLC and G&I IX Primrose Marketplace LLC turner.falk@saul.com
                          catherine.santangelo@saul.com;tnfalk@recap.email

Turner Falk
                          on behalf of Creditor Town & Country (CA) Station L.P. turner.falk@saul.com
                          catherine.santangelo@saul.com;tnfalk@recap.email

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov

Vahbiz Karanjia
                          on behalf of Creditor Iris Software Inc. v.karanjia@epsteinostrove.com

Vincent J. Roldan
                          on behalf of Creditor Schnitzer Stephanie LLC vroldan@mblawfirm.com

Vincent J. Roldan
                          on behalf of Creditor Arrowhead Palms L.L.C. vroldan@mblawfirm.com

Vincent J. Roldan
                          on behalf of Creditor Texas Taxing Authorities vroldan@mblawfirm.com

Vincent J. Roldan
                          on behalf of Creditor McCreary Entities vroldan@mblawfirm.com

Vincent J. Roldan
                          on behalf of Creditor Tax Appraisal District of Bell County Texas vroldan@mblawfirm.com

Vincent J. Roldan
           Case 23-13359-VFP          Doc 3341 Filed 07/03/24 Entered 07/04/24 00:19:12                                        Desc
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                          on behalf of Creditor Texas Tax Authorities vroldan@mblawfirm.com

Vincent J. Roldan
                          on behalf of Creditor Taxing Districts Collected by Randall County vroldan@mblawfirm.com

Walter E. Swearingen
                          on behalf of Creditor TF Cornerstone Inc. wswearingen@beckerglynn.com aostrow@beckerglynn.com;hlin@beckerglynn.com

Walter E. Swearingen
                          on behalf of Creditor 200-220 West 26 LLC wswearingen@beckerglynn.com aostrow@beckerglynn.com;hlin@beckerglynn.com

Warren A. Usatine
                          on behalf of Debtor Bed Bath & Beyond Inc. wusatine@coleschotz.com fpisano@coleschotz.com

Wendy M Simkulak
                          on behalf of Creditor Chubb Companies wmsimkulak@duanemorris.com

Wendy M Simkulak
                          on behalf of Creditor The Chubb Companies wmsimkulak@duanemorris.com

William G. Wright
                          on behalf of Creditor ARC International North America LLC wwright@capehart.com, jlafferty@capehart.com

William J. Levant
                          on behalf of Creditor Consumer Centre Paramount 4 LLC efile.wjl@kaplaw.com, wlevant@gmail.com

William J. Levant
                          on behalf of Creditor Consumer Centre Paramount 1 LLC efile.wjl@kaplaw.com, wlevant@gmail.com

William J. Levant
                          on behalf of Creditor Consumer Centre Paramount 7 LLC efile.wjl@kaplaw.com, wlevant@gmail.com

William J. Levant
                          on behalf of Creditor Consumer Centre Paramount 6 LLC efile.wjl@kaplaw.com, wlevant@gmail.com

William J. Levant
                          on behalf of Creditor Consumer Centre Paramount 5 LLC efile.wjl@kaplaw.com, wlevant@gmail.com

William J. Levant
                          on behalf of Creditor Consumer Centre Paramount 2 LLC efile.wjl@kaplaw.com, wlevant@gmail.com

William J. Levant
                          on behalf of Creditor Main Street at Exton II L.P. efile.wjl@kaplaw.com, wlevant@gmail.com

William R. Firth, III
                          on behalf of Creditor DT-SGW LLC wfirth@pashmanstein.com, ddanielson@cohenseglias.com


TOTAL: 659
